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CLERK, U.S. DISTRICT COURT

IN THE UNITED STATES DISTRICT COURT = ANCHORAGE, AK
FOR THE DISTRICT OF ALASKA

CENTER FOR BIOLOGICAL DIVERSITY, et ai.,

Plaintiffs,

¥. Case No.
BUREAU OF LAND MANAGEMENT et al,

3:23-cv-00061-SLG
"Defendants. ee

CONCOPHILLLIPS ALASKA, INC. e7 ai.,

Sewer Nee See Ne Ne Nee ee te ee” Nee” Nem” See Nee”

Intervenor-Defendants.
MOTION TO INTERVEN BY TAREK FARAG.
The movant Tarek Farag, pro se (hereinafter Movant), as a U.S. citizen, states the following:
1- Plaintiffs are establishing this case on an assumption that burning fossil fuel could cause
global warming, whic’ Movant believes it to be a hoax. Accordingly, around 4/20/2023 he filed
his Amicus Brief showing that there is no scientific basis for the claims that burning fossil fuel

could cause global warming, and the calls for zero-carbon emission are destructive to the

___ environment and the standard of living (89). Around 8/9/2023, Movant filed his motion to

supplement his previcus Amicus Brief (142). Movant asked the Court to allow him to dispute the
assumption that burning fossil fuel is causing global warming (hereinafter Hoax).

2- Up until now, no one disputed the facts presented ia Movant’s Briefs. However, all the
filings were made as if the Hoax is real.

3- On June 12, 2023 a trial began of a similar case in Montan: First Judicial District Court,

Lewis And Clark County, Case # CDV-2020-307 (hereinafter M. Case), that H.J. Kathy Seeley

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was presiding. Movarit knew about M. Case trial from the news just that day 6/12/2023. He
immediately prepared and served a brief identical to that that was filed in this case (89) on the
same day 6/12/2023, to let the Court and all the parties know the facts to stop a crisis that could
result from the Hoax. The trial of M. Case ended on 6/20/2023, without tackling the Hoax, and
with Plaintiffs’ expert, witnesses making unreasonable statements. On 7/20/23 (after the trial, and
before the final Court order) Movant filed a motion, to warn the Court that a layperson would
reject those unreasonable statements. On 8/ 14/23, the Court ignored the Briefs, and issued its
Findings of Facts, Conclusions of Law, and Order in Favor of Plaintiffs (supporting the Hoax).
4- Although Movant showed the invalidity of the harras claimed in M. Case. H.J. Seeley stated
in her order that climate change is causing the followirg harm+: 1) The Earth has warmed by 1.3
to 2.2 °F in only the last 35 years. 2) If we don’t reduce GHG concentrations Plaintiffs will be
unable to live clean ard healthy lives in Montana. 3) Climate change and the air pollution
associated with it are negatively affecting children in Montana. 4) Is causing psychological

harms to Montana’s youth. 5) Harms the physical and -»sychological health and safety of

Montana’s children, iriterferes with family and cultural foundations and integrity, and causes

economical deprivations. 6) Cause anxiety, depression, and chronic despair. 7) The days above
90°F are expected to increase by 11 to 30 per year by mid-century, and about 60 days by the end
of the century. 8) Number of days above freezing will :ncrease by weeks to months in the future.
5- Just considering that, for hundreds of years, Florida’s average temperature was higher than

Montana’s by about 39°F, and mo one observed those harms stated above, for only 2.2 °F

increase, or a projected increase of 9.8°F (by year 2100). Additionally, Plaintiffs reversed the

benefits of increasing annual warm days, and the reduction of freezing days to be harmful !

6- Movant is entitled to intervene in this action because he meets the four-part test (Movant is

not going to repeat the arguments presented by other irtervenors but will rely on them):

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1)

Movant’s motion is timely since the case is in i:s preliminary stages and he previously

participated in it by filing his Amicus Briefs.

2) Movant suffered huge financial losses and reduction to his standard of living, due to the

huge increases in the prices of almost everytaing, due to the limitations, imposed to

follow the Hoax, on the use and production of fossil fuel in Alaska, the USA, and the

world. In addition, he is paying to destroy other reliable sources of energy (including

nuclear), and to subsidize electric-cars, windmills, solar panels, etc. against his will.

_3) Learning the lesson from_M. Case,.Movant must intery.2ne to_preventthe potentialofa— —

4)

Court order supporting the Hoax, or compromising between a hoax and financial benefits,
and what could be an environmental damage, itnpeding his ability to protect his interests.
Movant’s interests go beyond this action, which are not adequately represented by the
existing parties. Although all the parties are aware of Movant’s Briefs, no one showed
interest in it, o- contacted him to verify his claims for the Hoax, or to coordinate with
him. Even when he tried many times to contact the intervenor ConcoPhillips he was
completely ignored. Examples of the differences between Movant’s and other parties’
interests are: 1) ConcoPhillips is a private corporation serving the interests of its

shareholders that could be interested in limited permissions (not an elimination of all the

restrictions everywhere) to explore and produce oil to | Tevent other oil companies from
competing with it, and the reductions in oil products resulted in record profits for it. 2)
BLM is following the directives of the Biden’s Administration and may not be willing to
prove them wrong. 3) The State’s interests are mainly financial within its borders. 4)

Corporation Defendants give priority to the interests of their shareholders.

7- Premising Movant to intervene wouldn’t affect the rights of anyone. It could put a quick end

to this case by proving that it is based on a Hoax, and save time, money, and resources.

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8- Court Rules require a motion to intervene to be accompanied by a pleading. However, the
intervention motions could be without a pleading where the court was otherwise apprised of the
grounds for the motion. All the parties and the Court aie well aware that Movant is trying to
prove that the Hoax is a hoax, and hold its promoters accountable. To save time and resources,
Movant would like to ask the Court to allow him a leave to file his pleadings in case that the

Court approves his intervention.

WHEREFORE, Movant Tarek Farag, respectfully requ.ests that this Honorable Court:

1- Allow him to intervene in this action, grant hirr. a leave to file his pleadings, and allow
him free acces: to all the case documents;

2- Order the parties that are claiming that burning fossil fuel is causing global warming
(Plaintiffs, BLM, Government, etc.) to provide their scientific proofs against the Hoax,
dispute Movant’s findings, and prepare graphs for CO2 and for water vapor absorption
(coefficients) for the IR spectrum at the current concentration of about 400 ppm or any
other concentration the measurements were done, and old a hearing for facts finding;

3- Allow him to file, serve, and be served electrorically to his email address:
tarekfaragusa(hotmail.com using the CM/ECF system; and

4- Take any additional actions as proper and just.

Respectfully submitted,
ais
Movant: TAREK FARAG, pro se.

411 N WARWICK AVE, WES TMONT, IL 60559
' Phone: 630 709 3965

Email: tarekfaragusa@ hotmail.com

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Sender: TAREK FARAG
411 N WARWICK AVE, WESTMONT, IL 60559

Case No.
3:23-cv-00061-SLG

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